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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
                                                    :
Keyette Johnson,                                    :
                                                    :
                        Plaintiff,                  :
                                                      Civil Action No.: ______
        v.                                          :
                                                    :
Home Warranty Administrators, Inc dba               :
                                                      COMPLAINT
Choice Home Warranty,                               :
                                                    :
                        Defendant.                  :
                                                    :

        For this Complaint, Plaintiff, Keyette Johnson, by undersigned counsel, states as follows:

                                          JURISDICTION

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        3.      Plaintiff, Keyette Johnson (“Plaintiff”), is an adult individual residing in

Randolph, Massachusetts, and is a “person” as the term is defined by 47 U.S.C. § 153(39).

        4.      Home Warranty Administrators, Inc dba Choice Home Warranty (“HWA”), is a

New Jersey business entity with an address of 1090 King Georges Post Road, Edison, New

Jersey 08837and is a “person” as the term is defined by 47 U.S.C. § 153(39).
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                                              FACTS

       5.       In July 2018, HWA began calling Plaintiff’s cellular telephone, number 774-xxx-

9386, using an automatic telephone dialing system (“ATDS”).

       6.       When Plaintiff answered calls from HWA, she heard a prerecorded message.

       7.       Plaintiff never provided her cellular telephone number to HWA and never

provided consent to receive automated calls from HWA.

       8.       Plaintiff spoke with a live representative and informed HWA that they had the

wrong number and requested that HWA cease all calls to her immediately.

       9.       Nevertheless, HWA continued to place automated calls to Plaintiff’s cellular

telephone number.

                                   COUNT I
                  VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.

       10.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       11.      At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer and/or using a prerecorded or artificial voice.

       12.      Defendant continued to place automated calls to Plaintiff’s cellular telephone

number despite knowing that it lacked consent to do so. As such, each call placed to Plaintiff

was made in knowing and/or willful violation of the TCPA, and subject to treble damages

pursuant to 47 U.S.C. § 227(b)(3)(C).

       13.      The telephone number called by Defendant was assigned to a cellular telephone

service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

       14.      The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

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       15.      Plaintiff is entitled to an award of $500.00 in statutory damages for each call

placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       16.      As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                A. Statutory damages of $500.00 for each violation determined to be negligent

                   pursuant to 47 U.S.C. § 227(b)(3)(B);

                B. Treble damages for each violation determined to be willful and/or knowing

                   pursuant to 47 U.S.C. § 227(b)(3)(C); and

                C. Such other and further relief as may be just and proper.

                       JURY TRIAL DEMANDED ON ALL COUNTS

Dated: January 16, 2019

                                              Respectfully submitted,

                                              By /s/ Sergei Lemberg

                                              Sergei Lemberg (BBO# 650671)
                                              LEMBERG LAW, L.L.C.
                                              43 Danbury Road, 3rd Floor
                                              Wilton, CT 06897
                                              Telephone: (203) 653-2250
                                              Facsimile: (203) 653-3424
                                              Attorneys for Plaintiff




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